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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 JOHN DOE,                                      )
                Plaintiff,                      )
                                                )       Case No. 2:16-cv-00171
        v.                                      )
                                                )       Judge Smith
 OHIO STATE UNIVERSITY, et al.,                 )
                                                )       Magistrate Judge Vascura
                Defendants.                     )

                       PLAINTIFF’S REPLY IN SUPPORT OF
             MOTION TO COMPEL UNITED STATES DEPT. OF EDUCATION’S
                      RESPONSE TO PLAINTIFF’S SUBPOENA


 1.   Introduction:

        Plaintiff John Doe “(JD”) requests this Court order the United States Department of

 Education (“DOE”) to produce the Requested Documents identified in JD’s Motion to Compel

 (“JD’s MTC”).1 This is because, as detailed below, DOE’s arguments in opposition to JD’s MTC

 are unpersuasive.

2.      The Requested Documents must be produced because they are critical to claims and
        defenses in this case.

        The Requested Documents are highly relevant to a central issue in this case. This issue is

 whether Defendant The Ohio State University’s (“OSU”) expulsion of JD was motivated by gender

 bias related to pressure from DOE’s Office of Civil Rights (“OCR”). DOE does not disagree

 factual allegations regarding DOE pressure contributed to ten district courts’ decisions rejecting


 1
    JD’s MTC defines the Requested Documents as: (1) All document(s) and communication(s) created
 between April 4, 2011 and August 7, 2015 - which DOE neither provided to OSU nor received from OSU
 - that relate to any sexual misconduct investigation(s) DOE conducted regarding OSU’s implementation of
 Title IX, and (2) All document(s) and communication(s) created between April 4, 2011 and August 7, 2015
 - which DOE neither provided to OSU nor received from OSU - that relate to any sexual misconduct
 complaint DOE received regarding OSU’s implementation of Title IX.” Doc.68, PageId.3563-64.


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motions to dismiss Title IX claims filed by male students like JD. Compare, Doc.68, p. 3565-67

(containing JD’s discussion of ten district court decisions), with Doc.69, p. 3801-03 (containing

DOE’s response).      Instead, DOE asks this court to ignore these court decisions because DOE

alleges they are based on “unsubstantiated allegations” that do not justify DOE’s production of the

Requested Documents. Doc.69, p. 3801. DOE’s argument is incorrect because these ten decisions

detail why federal pressure – such as DOE’s temporally connected investigation of OSU– warrants

the production of the Requested Documents. See generally, Doc.68, p. 3565-67 (containing JD’s

discussion of ten district court decisions).

        DOE also neglected to mention the Sixth Circuit’s recent Univ. of Miami decision which

explicitly identified “discovery” as a tool to evaluate allegations of federal pressure like the

pressure likely manifested in the Requested Documents. Doe v. Miami Univ., No. 17-3396, --

F.3d--, 2018 WL 797451, *10 (6th Cir. Feb. 9, 2018). 2 Specifically, the Sixth Circuit identified

“[d]iscovery” as a method to uncover gender bias that might exist in documents not “controlled”

by plaintiff. Id. Miami Univ. did not explicitly discuss the use of subpoenas, but it strongly

suggests DOE should produce the Requested Documents because DOE is the only party in

“control” of these documents. See, generally, Doc.68, p. 3571, 3576-77 (discussing same).

        DOE also inaccurately claimed JD raised “unfounded and inaccurate” concerns about the

likelihood of gender bias evidence being contained in the Requested Documents. Doc.69, p.3809.

This claim is incorrect because JD identified numerous legal scholars who discussed DOE pressure

contributing to gender biased discipline of male students. Doc.68, p.3567-69 (discussing same).

These scholars include female Harvard Law professors who describe:

        OCR’s “pro-accuser” mandates that created a “bias for women and against men”
        so as to “predetermine women as victims and men as wrongdoers.” Id., p. 3567-68

2
  It should be noted, the Sixth Circuit issued Univ. of Miami after JD’s MTC was filed but before DOE filed
its response to JD’s MTC.
                                                                                                         2
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        (discussing Elizabeth Bartholet, Nancy Gertner, Janet Halley & Jeannie Suk
        Gersen, Fairness For All Students Under Title IX (Aug. 21, 2017).

DOE’s attempted to sidestep the legal scholars’ concerns about DOE bias by claiming the

production of the Requested Documents is: (a) unwarranted since the legal scholars do not

explicitly identify subpoenas as a tool for obtaining gender bias evidence, and (b) unnecessary

because JD can obtain gender bias evidence “without [engaging in] discovery.” Doc.69, p.3802.

        DOE’s claims lack merit because none of the scholarly publications cited by JD suggest an

opposition to subpoenas. Doc.68, p.3567-69. If anything, the authors of these publications would

likely support JD’s Subpoena because the authors all express concerns that DOE pressure caused

universities to violate male students’ Title IX rights. Id. 3 In addition, DOE’s allegation that the

Requested Documents are unnecessary because JD can obtain gender bias evidence “without

discovery” completely contradicts Miami Univ. For in that decision, the Sixth Circuit stated

plaintiffs should use “discovery” to obtain gender bias evidence from those that “control” such

evidence. Miami Univ., 2018 WL 797451, *10. Otherwise, plaintiffs cannot defend against

subsequent motions for summary judgment filed by defendant universities like OSU. As a result,

this Court should order DOE produce the Requested Documents because DOE is the only entity

in “control” of this potentially critical pieces of gender bias evidence.




3
  DOE makes other inaccurate arguments regarding the scholarly publications cited in JD’s MTC. For
instance, DOE misinterprets Bethany A. Corbin’s Riding The Wave Or Drowning?: An Analysis Of Gender
Bias And Twombly/Iqbal In Title IX Accused Student Lawsuits, 85 Fordham L. Rev., May 2017, 2665, 2680-
85. See generally, Doc.69, p.3802. In particular, DOE distorts Ms. Corbin’s commentary on why courts
should reject motions to dismiss without the need for additional discovery. Id. This is because Ms. Corbin’s
article argues discovery should not be necessary to defeat most Civ. R. 12 motions to dismiss filed by
defendant universities. See generally, Bethany A. Corbin’s Riding The Wave Or Drowning?: An Analysis
Of Gender Bias And Twombly/Iqbal In Title IX Accused Student Lawsuits, 85 Fordham L. Rev., May 2017.
But, Ms. Corbin suggests courts interested in requiring male plaintiffs produce more concrete evidence of
gender bias should order limited discovery before ruling on defendant university’s Civ. R. 12 motions to
dismiss. Id.
                                                                                                          3
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          This is particularly true because the Requested Documents are essential to evaluating

OSU’s allegation that its expulsion of JD had nothing to do with pressure from the Obama

Administration, DOE or OCR. See e.g., Doc.52, p.3228-29 (containing OSU’s Answer denying

JD’s expulsion was impacted by pressure from the Obama Administration, DOE or OCR).                In

response, DOE alleges it would be impossible for the Requested Documents to highlight DOE’s

pressure because these documents “were never provided to OSU.” Doc.69, p.3803. DOE’s

allegations lack merit in part because the Sixth Circuit and ten district courts suggest the Requested

Documents will likely illuminate gender biased statements, goals, and/or strategies discussed

during DOE’s interactions with OSU.

          Consequently, this Court should order the production of the Requested Documents because

this Court has required non-parties produce subpoenaed documents relevant to a party’s defenses.

Taylor v. Universal Auto Group I, Inc., No. 14–mc–50, 2015 WL 1810316 *8 (S.D.W.D.OH. Apr.

17 2015) (compelling a non-party produce documents relevant to a defendant’s affirmative

defenses).

2. Producing the Requested Documents does not subject DOE to undue burden nor does it
   run afoul of The Privacy Act or FERPA


          DOE’s “undue burden and expense” arguments4 should be rejected in part because DOE

does not dispute OCR’s Acting Assistant Secretary Candice Jackson (“Jackson”) never responded

to JD’s offer to narrow the scope of JD’s Subpoena to the Requested Documents. See generally,

Doc.66 (containing no suggestion that Jackson personally evaluated JD’s offer to narrow the scope

of JD’s Subpoena to the Requested Documents), Doc.69 (same). Therefore, OCR has not satisfied

its burden under FRCP 45 to establish an undue burden by “show[ing] disclosure will cause it a



4
    See, Doc. 69, p.3804-09 (containing DOE’s undue burden arguments).
                                                                                                    4
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‘clearly defined and serious injury.’” In re Domestic Drywall Antitrust Litig, 300 F.R.D. 234, 239

(E.D. 2014)(citation omitted).

       Similarly, DOE’s Privacy Act of 1974 (“Privacy Act”) and the Family Educational Rights

and Privacy Act (“FERPA”) arguments lack merit.         For instance, DOE alleged JD incorrectly

claimed a subpoena trumps DOE’s FERPA obligations to keep certain student information private.

Doc.69, p.3806-07. But, DOE admits FERPA permits DOE “to disclose personally identifiable

information [“PII”]. . . pursuant to a lawfully-issued subpoena . . . .” Id., p.3807. Similarly, DOE

alleges JD erroneously claimed DOE puts students on notice that PII can be disclosed in response

to subpoenas. Id., p.3805. However, DOE admits providing students this notice by forewarning

them that DOE will produce PII as “otherwise [required] by law” - which certainly includes

subpoenas. Id. More importantly, DOE’s Privacy Act and FERPA arguments do not refute JD’s

assertion that the Requested Documents likely contain minimal PII since JD is not seeking

documents OSU provided DOE. Doc.68, p.3564-65 (discussing same).

       DOE also largely ignores JD’s offer to allow DOE to replace students’ names with

mutually agreeable gender specific pseudonyms. Id. Instead of addressing this attempt at

compromise, DOE identifies the following new examples of PII that DOE wants to keep

confidential: students’ addresses; social security numbers; student numbers and birth dates;

biometric records; names of students’ parents or family members; and/or students’ mothers’

maiden names (collectively referred to as “New PII”). Doc.69, p.3808. If DOE had raised these

issues previously, DOE would have learned JD would consent to DOE redacting the New PII from

DOE’s initial production of the Requested Documents. Consequently, JD requests this Court

require DOE’s initial production of the Requested Documents occur with the redactions and gender

specific pseudonyms proposed by JD.



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3.      DOE’s legal authorities are distinguishable.

        DOE’s legal authorities do not support DOE’s allegation that this Court lacks the power to

 overrule DOE’s claim that it need not produce the Requested Documents.          For example, the

 Santiago decision cited by DOE does not support DOE’s allegation that this Court cannot review

 DOE’s unilateral decision to withhold the Requested Documents.         Doc. 69, P.3798 (quoting

 Santiago v. Jamison, No. 2:13-cv-781, 2015 WL 136038 (M.D. Fla. Jan. 9, 2015)). This is partly

 because DOE neglected to mention Santiago quashed a subpoena only after determining the

 plaintiff: (a) falsely alleging he served his motion to compel on DOE, and (b) did not engage DOE

 in extra judicial attempts to resolve his disputes with DOE prior to filing the motion to compel.

 Santiago, 2015 WL 136038, *2. These factors do not exist here because: (1) JD’s MTC was

 properly served on DOE; (2) JD’s Subpoena complied with 34 C.F.R. §§8.1-8.3; (3) DOE rejected

 JD’s extra judicial attempts to resolve their disputes; and (4) DOE stated it will not produce any

 of the Requested Documents unless ordered to do so by this Court. Compare, Doc.68, p.3562-65

 (discussing items 1-4), with Doc.69 (not disputing items 1-4).

        DOE’s reliance on Jackson is similarly deficient because Jackson does not support DOE’s

 allegation that the Administrative Procedure Act (“APA”) is the only mechanism JD can use to

 challenge DOE’s decision to withhold the Requested Documents. Doc.69, p.3797 (quoting

 Jackson v. Allen Indus., Inc., 250 F.2d 629, 630 (6th Cir.1958). This is because Jackson is devoid

 of any suggestion that the Sixth Circuit looked to the APA to determine whether a subpoena was

 enforceable. Jackson, 250 F.2d 629-630. Instead, Jackson appears to have determined the motion

 to compel lacked merit because the FBI raised valid “privilege” objections and the plaintiff could

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not establish a requisite “causal connection” to the requested documents. Id. Here, JD establishes

a “causal connection” and DOE prohibits this Court from evaluating its “privilege” arguments

because DOE refused JD’s request for a privilege log. See generally, Doc.68, p.3565-69, 3572-73

(discussing same).

       JD’s MTC should also be granted because DOE does not disagree Apollo I rejected DOE’s

argument that FOIA and the APA must be utilized to resolve the dispute over the Requested

Documents. Compare, Doc.68, p.3573 (containing JD’s discussion of In Re Apollo Group, Inc.

Securities Litigation, Case No. CV–04–2147–PHX–JAT, 2007 WL 778653, *1 (Dist. DC., Mar.

12, 2007)(“Apollo I”), with Doc.69, p.3799 (containing OCR’s discussion of Apollo I). Similarly,

DOE does not dispute Apollo I ordered DOE produce a privilege log and subpoenaed documents

dealing with “DOE’s underlying work papers” related to a DOE investigation. Id.

       Instead, DOE suggests Apollo II supports DOE’s argument that the APA must be utilized

to resolve disputes over the Requested Documents. Doc.69, P.3799 (containing OCR’s discussion

of In re Apollo Group, Inc. Securities Litigation, 251 F.R.D. 12, 15 (D.D.C. 2008) (“Apollo II”)

aff’d on mootness grounds, 329 F. App’x 283 (D.C. Cir. 2009). In reality, Apollo II stated the

opposite by noting:

       Apollo could, despite the DOE’s arguments to the contrary, pursue the production
       of documents responsive to the Amended Subpoena via a Motion to Compel
       pursuant to Federal Rule of Civil Procedure 45(c)(2)(B) . . . . Apollo II, 329 F.
       App’x 12, 17.

       In a back-up argument, DOE alleges Apollo II proves JD’s MTC should be rejected because

Apollo II ultimately found DOE need not produce certain documents.            Doc.69, P.3803-04

(containing OCR’s discussion of Apollo II). DOE’s argument is clearly premature because Apollo

II addressed three critical events which have not occurred here: (1) DOE produced some

subpoenaed documents after Apollo I; (2) DOE provided privilege logs ordered by Apollo I; and

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(3) Apollo II conducted fact intensive evaluations of ODE’s various legal claims.         Apollo II, 329

F. App’x 12.

        DOE also incorrectly alleges Cabral and Elnashar require this court “remand” this dispute

to DOE “for further investigation” if this Court finds DOE acted in an arbitrary and capricious

fashion. Doc.69, P.3809-11 (discussing Cabral v. U.S. Dep’t of Justice, 587 F.3d 13, 23 (1st Cir.

2009), Elnashar v. Speedway SuperAmerica, LLC, 484 F.3d 1046, 1052-53 (8th Cir. 2007)). This

allegation is incorrect because neither Cabral nor Elnashar remanded disputes to federal agencies.

Instead, Cabral and Elnashar adjudicated subpoena disputes by conducting in camera reviews of

disputed documents. Cabral, 587 F.3d 13, 23; Elnashar, 484 F.3d 1046, 1053.

        DOE’s reliance on Cabral is also unpersuasive because like Apollo II, the federal agency

in Cabral ultimately agreed to produce documents and testimony sought in a subpoena. Cabral,

587 F.3d 13, 23 (discussing how the Dept. of Justice “authorized two FBI Agents . . . to provide

affidavits and trial testimony, authorized . . . a deposition and trial testimony . . . disclosed certain

relevant documents . . . [and provided] an affidavit filed in camera and under seal . . . explained

how the release of undisclosed information would directly and adversely impact the FBI’s

investigations and violate the Privacy Act . . . .”).

        As a result, DOE’s Cabral argument should be rejected because DOE refuses to engage in

the document disclosures the federal agency in Cabral engaged in.               This is especially true

because Cabral - like the Davis decision cited by DOE – are distinguishable because they involved

subpoenas requesting oral testimony – something not sought in JD’s Subpoena.                  Compare,

Doc.69, p.3809, 3811, fn.9 (discussing Cabral, 587 F.3d 13, 23 (1st Cir. 2009), Id., p. 3811

(discussing Davis Enters. v. U.S. EPA, 877 F.2d 1181, 1188 (3d Cir. 1989)).5


5
  To avoid repetition, JD incorporates by reference components of JD’s MTC that distinguished the
following decisions previously cited by DOE because DOE does not dispute JD’s distinguishing of these
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        Moreover, courts have rejected DOE’s Davis based argument that the APA is the sole basis

for litigants like JD to seek the enforcement of a subpoena. Doc.69, P.3810, fn.9 (containing

DOE’s Davis argument). The Fermaintt and Johnson decisions are two examples. Fermaintt v.

McWane, No.06-5983, 2008 WL 11383665 (D.C.N.J. Dec. 17, 2008); Johnson v. Folino, 528 F.

Supp.2d 548, 550 (E.D. Penn. 2007). Fermaintt determined FRCP governed a dispute regarding

a subpoena and “an ancillary action under the APA [was] not necessary.” Fermaintt, 2008 WL

11383665, *4 (distinguishing Davis as relating to subpoenas originating in state courts). Similarly,

Johnson determined that since “Davis arose out of a state court litigation, it has no bearing on

whether a separate action is necessary to review a discovery dispute arising in a federal case.”

Johnson 528 F. Supp.2d 548, 551. Johnson then “[a]ssum[ed] without deciding that a Rule 45

analysis govern[ed]” the FBI’s objection to a subpoena. Id.

        Johnson also undermines DOE’s allegation that The Privacy Act necessitates the quashing

of JD’s Subpoena. This is because Johnson determined: “The Privacy Act . . . does not create a

qualified discovery privilege . . . [n]or does the Act create any other kind of privilege or bar that

requires a party to show actual need as a prerequisite to invoking discovery.” Id., 552 (quoting

Laxalt v. McClatchy, 809 F.2d 885, 888 (D.C.Cir.1987)). Instead, Johnson determined that when

addressing Privacy Act objections “in the course of civil litigation, [] courts must accord the proper




decisions: Swett, Sparks, Boron, Rimmer, Threet, Ohio Health, and Lynimo. Compare, Doc.68,
PageId.3574-75 (detailing JD’s rationale for why the following cases did not support DOE’s arguments
Boron Oil Co. v. Downie, 873 F.2d 67 (4th Cir. 1989); State of Louisiana v. Sparks, 978 F.2d 226 (5th Cir.
1992); United States v. Threet, No. 09-20523, 2011 WL 5865076 (E.D. Mich. Nov. 22, 2011); OhioHealth
Corp. v. U.S. Dep’t of Veterans Affairs, No. 2:14-cv-292, 2014 WL 4660092 (S.D. Ohio Sept. 17, 2014);
United States v. Lyimo, 574 F. App’x 667 (6th Cir. 2014)); Rimmer v. Holder, 700 F.3rd 246, 262-63 (6th
Cir. 2012)), with Doc. 69, PageId.3797-98, 3810-11 (repeating DOE’s Swett, Sparks, Boron, Rimmer,
Threet, Ohio Health, and Lynimo arguments without addressing JD’s distinguishing of these cases).


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 weight to the policies underlying [] statutory protections, and . . . compare them with the factors

 supporting discovery in a particular lawsuit.” Id.6

         Here, Fermaintt, Johnson, and distinguishing factors of DOE’s legal authorities require

 DOE produce the Requested Documents. This is partly because DOE’s reliance on Metcalfe is

 unpersuasive. Doc. 69, p.3798, 3809-10 (discussing Metcalfe v. Ultimate Sys., Ltd., 346 F.

 Supp.2d 950, 954 (N.D. Ohio 2004). For, Metcalfe - like the Edwards, Jackson, and the Houston

 Business Journal decisions cited by DOE7 - all involved state court subpoenas quashed because

 federal agencies had not waived sovereign immunity. See e.g., Metcalfe, 346 F. Supp.2d 950, 953-

 54 (noting that like Edwards and Houston Business Journal the federal agency in Metcalfe “had

 not waived sovereign immunity” to subpoenas served in state courts and therefore “state court

 orders seeking documents from the non-party federal agency cannot be enforced and shall be

 dismissed.”); Supra, p.7 (discussing Jackson).

         DOE also lacks a basis for claiming NetJet supports DOE’s allegation that this court cannot

 review DOE’s subjective belief that it need not produce the Requested Documents. Doc.69,

 p.3798 (discussing NetJets Large Aircraft, Inc. v. United States, No. 2:11-cv-1023, 2014 WL

 1672588, at *10 (S.D. Ohio April 28, 2014)). This is partly because NetJet did not involve a

 subpoena but rather addressed a federal agency’s objection to a discovery request. NetJets Large

 Aircraft, Inc., 2014 WL 1672588.




 6
  Johnson ultimately determined the FBI’s Privacy Act arguments outweighed a habeas corpus petitioner’s
 desire to obtain the redacted names from an FBI report because it was “unlikely that the redacted names are
 relevant to” the petitioner’s petition. Johnson 528 F. Supp.2d 548, 552.
 7
   See, Doc.66, p.3389 (containing DOE’s arguments based on Houston Bus. Journal, Inc. v. Office of
 Comptroller, 86 F.3d 1208 (D.C.Cir.1996)); Doc.69, p.3797 (containing DOE’s arguments based on
 Edwards v. U.S. Dep’t of Justice, 43 F.3d 312 (7th Cir. 1994); Supra, p.7 (discussing DOE’s reliance on
 Jackson).
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        Finally, DOE incorrectly suggests Watts supports DOE’s allegation that this Court lacks

 the authority under the FRCP to compel the production of the Requested Documents. Doc.69,

 P.3799 (discussing Watts v. SEC, 482 F.3d 501 (D.C.Cir. 2007)). This allegation lacks merit

 because Watts determined: “Courts have applied [] Rule 45 standards to document subpoenas

 issued to third-party agencies or agency employees in federal civil suits.” Watts, 482 F.3d, 501,

 508. Watts also noted “we do not believe the APA arbitrary and capricious standard applies when

 a court reviews an agency’s decision not to comply with a federal court subpoena.” Id., 509. And

 Watts found: “an agency’s Touhy regulations do not relieve district courts of the responsibility to

 analyze privilege or undue burden assertions under Rule 45 . . . .” Id.

4.      Conclusion

        The law and facts above disprove DOE’s allegation that JD’s MTC is based on “conclusory

 statement[s]” that are “unfounded and inaccurate.” Doc.69, p.3809. Instead, these facts and law

 highlight deficiencies in DOE’s arguments which include DOE’s refusal to present affidavits,

 privilege logs, and/or documents presented by federal agencies in legal authorities cited by DOE.

 Therefore, JD requests this Court compel the production of the Requested Documents.

                                              Respectfully Submitted,

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                                      Certificate of Service

      I certify that on March 6, 2018, I filed this court filing with the Clerk of Court using the
 CM/ECF system which will send notification of the filing to all registered parties.

                                                               /s/ Eric Rosenberg




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